Case 3:19-cv-00157-JAH-MDD Document 4-2 Filed 04/19/19 PagelD.25 Page 1of 4

CONFIRMATION For Process

ne

ONE LEGAL LLC

Serving
This is not an Invoice

 

ONE LEGAL CONFIRMATION FOR ORDERNO.: 12743820 DATE: 92/05/2019

 

Customer: Capron Law Offices
Customer No.: 91095936
Address:

Attorney: Matthew H. Capron
Attorney e-mail: mattcapron@yahoo.com
Contact: Matthew Capron
Contact e-mail: mattcapron@yahoo.com
Contact Phone: (619)869-8181
Contact Fax:
Law Firm File No.:

Chula Vista, CA 91915

 

 

CASE INFORMATION:

 

Case Number: 3:19-cv-00157-JAH-MDD
County:

Court: United States District Court, Southern District of California
Case Short Title: Luminence LLC vs. Ultramailers, Inc., et al.

 

 

 

 

 

 

1 am contacting you in regards to your above
service of process order. In your instructions

you state to serve all 4 defendants Ultramailers,
Inc, CM Enterprises, Inc, Theod Simonian, Haik
Abdunuryan. To serve each entity there needs
to be four orders placed for each. We are to
only have one entity per order due to proof of
service purposes. The order that was placed
has a defendant for Ultramailers, Inc that will be
dispatched. If an order needs to be placed for
each defendant please let us know by our 1 PM
dispatch deadline. For future orders you can

DOCUMENTS RECEIVED: No. Docs: 3 No. Pgs: 10
Summons, Complaint, Civil Case Cover Sheet
Party to Serve: Theod Simonian, an individual Service Address: 17647 Prairie St
Northridge, CA 91325
Confirmation Report. DO NOT PAY. An Invoice will be sent later.
Notes: Services: Summary of Charges:
Service Status: Service Complete Served Additional Entities 40.00
Process Serving Copy Charge 2.50
Hello Mr. Capron, Mailing Declaration 15.00

 

 

Services will be invoiced later.

DO NOT PAY NOW.|Total: 57.50

 

 

 

 

UPON RECEIPT, PLEASE REVIEW AND CONFIRM THAT THE ATTACHED DOCUMENTS ARE TRUE AND
CORRECT. IF THERE IS AN ERROR OR OMISSION PLEASE CONTACT CUSTOMER SUPPORT

IMMEDIATELY.
Customer Support | Ph: 1-800-938-8815
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Matthew H. Capron, 303941
Capron Law Offices
2220 Otay Lakes Rd., Suite 502-92
Chula Vista, CA 91915

Representing: Plaintiff

(619)869-8181

File No.

United States District Court, Southern District of California

Southern District of California - District - San Diego

Luminence LLC

Plaintiff/Petitioner

vs.

Ultramailers, Inc., et al.

Defendant/Respondent

Case No. 3:19-cv-00157-JAH-MDD

Proof of Service of:

Summons, Complaint, Civil Case Cover Sheet

 

OL#12743820

Service on:

Theod Simonian, an individual

Hearing Date:
Hearing Time:

Div/Dept:

PROOF OF SERVICE
 

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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address): TELEPHONE NO,:

Matthew H. Capron, 303941 (619)869-8181
Capron Law Offices
2220 Otay Lakes Rd., Suite 502-92
Chula Vista, CA 91915

ATTORNEY FOR (Name): Plaintiff

Insert name of court, judicial district or branch court, if any:

United States District Court, Southern District of California

333 West Broadway
San Diego, CA 92101-8900

 

Ref. No. or File No.

 

 

 

FOR COURT USE ONLY

 

PLAINTIFF:

Luminence LLC

 

DEFENDANT:

Ultramailers, Inc., et al.

 

DATE: TIME: DEPT/DIV:

 

 

PROOF OF SERVICE

 

 

CASE NUMBER:

3:19-cv-00157-JAH-MDD

 

 

4. At the time of service | was a citizen of the United States, over 18 years of age and not a party to this action, R oonbod copies of:

Summons, Complaint, Civil Case Cover Sheet

2. Party Served: Theod Simonian, an individual

3. Person Served: party in item 2

a. Left with: James "DOE"(Cauc/M/35yr/5'9/170Ib) - Co-Occupant
4, Date & Time of Delivery: 02/03/2019 10:00AM

5. Address, City and State: 17647 Prairie St

Northridge, CA 91325

6. Manner of Service:

By leaving the copies with or in the presence of James "DOE"(Cauc/M/35yr/5'9/170lb) , a
competent member of the household (at least 18 years of age) at the dwelling house or usual

place of abode of the person served. | informed him/her of the general nature of the papers. |
caused the copies to be mailed (if applicable). A declaration of mailing is attached.

Fee for Service: $ 57.50

Registered California process server.
County: Los Angeles
Registration No.: 2014325619

Jose Felix Nava

One Legal - 194-Marin
504 Redwood Blvd #223 ATA OD)

Signature:

I declare under penalty of perjury under the laws of the United States of America
and the State of California that the foregoing is true and correct and that this
declaration was executed on 02/04/2019 at Los Angeles, California.

Novato, CA 94947 Jose Felix Nava

415-491-0606

OL#: 12743820
 

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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address): TELEPHONE NO.: FOR COURT USE ONLY

Matthew H. Capron, 303941 ;
Capron Law Offices (619)869-8181

2220 Otay Lakes Rd.
Chula Vista, CA 91915 Ref. No. or File No.
ATTORNEY FOR (Name): Plaintiff
Insert name of court, judicial district or branch court, if any:

United States District Court, Southern District of California

333 West Broadway
San Diego, CA 92101-8900

PLAINTIFF:

 

 

 

 

 

Luminence LLC
DEFENDANT:

 

Ultramailers, Inc., et al.

 

DATE: TIME: DEPTIDIV: CASE NUMBER:

PROOF OF SERVICE BY MAIL 3:49-cv-00157-JAH-MDD

 

 

 

 

 

 

lam a citizen of the United States, over the age of 18 and not a party to the within action. My business address is 504 Redwood Bivd #223,
Novato, CA 94947.

On 02/04/2019, after substituted service under section CCP 415.20(a) or 415.20(b) or FRCP 4(e)(2\(B) or FRCP 4(h)(1)(B) was made (if
applicable), | mailed copies of the:

Summons, Complaint, Civil Case Cover Sheet

to the person to be served at the place where the copies were left by placing a true copy thereof enclosed in a sealed envelope,
with First Class postage thereon fully prepaid, in the United States Mail at Los Angeles , California, addressed as follows:

Theod Simonian, an individual

17647 Prairie St
Northridge, CA 91325

| am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it would be
deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid, in the ordinary course of
business. | am aware that on motion of the party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one (1) day after date of deposit for mailing in affidavit.

Fee for Service: $ 57.50

 

| declare under penaity of perjury under the laws of the United States of

Dorine De Leon ; America and the State of California that the foregoing is true and correct and
One Legal - 194-Marin that this declaration was executed on 02/04/2019 at Los Angeles, California.
504 Redwood Blvd #2238 >

Novato, CA 94947 oo —
~\ . De CO \

Dorine De Leon
OL#: 12743820
